                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

       UNITED STATES OF AMERICA,
                 Plaintiff,
                                                          No. 3:22-cr-14
               v.
                                                          Judges Varlan/McCook
       DAVID HENDERSON,
                 Defendant.

                  RESPONSE IN OPPOSITION TO DEFENDANT’S
               MOTION FOR DISCLOSURE OF MATERIAL WITNESSES

       Defendant’s motion for disclosure of material witnesses should be denied because

defendant has failed to meet his burden to demonstrate “that disclosure is essential to a fair trial.”

United States v. Moore, 954 F.2d 379, 381 (6th Cir. 1992). Nor has defendant demonstrated

“how disclosure . . . would substantively assist his defense.” Moore, 954 F.2d at 381. The

allegations in the indictment are specific, and the United States has produced detailed and

comprehensive discovery, including numerous interview reports of individuals who participated

in many of the alleged overt acts. Defendant’s motion should be denied.

                                      LEGAL STANDARD

       The Supreme Court has recognized that the United States possesses a limited privilege to

“withhold from disclosure the identity of persons who furnish information of violations of law to

officers charged with enforcement of that law.” Roviaro v. United States, 353 U.S. 53, 59

(1957). “The government’s privilege is usually asserted to protect the identify of an

informer[.]” United States v. Sharp, 778 F.2d 1182, 1186 (6th Cir. 1985).

       “The purpose of the privilege is to further effect law enforcement by encouraging citizens

to communicate their knowledge of criminal activities to law enforcement officials.” Sharp,




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778 F.2d at 1185. “The rationale is that citizens will be more likely to communicate their

knowledge of criminal activities if their anonymity is preserved.” Id.

       When reviewing a motion for disclosure of the identification of eyewitnesses,

cooperators, or informants, “no fixed rule with respect to disclosure is justifiable.” Roviaro, 353

U.S. at 62. “The court must ‘balanc[e] the public interest in protecting the flow of information

against the individual’s right to prepare his defense. Whether a proper balance renders

nondisclosure erroneous must depend on the particular circumstances of each case, taking into

consideration the crime charged, the possible defenses, the possible significance of the

informer’s testimony, and other relevant factors.’” Moore, 954 F.2d at 381 (quoting Roviaro,

353 U.S. at 62).

       The Sixth Circuit has held that this balance requires disclosure “only upon a showing by

the defendant that disclosure is essential to a fair trial.” Moore, 954 F.2d at 381 (citing United

States v. Hanna, 341 F.2d 906, 907 (6th Cir. 1965)). “A defendant must provide some evidence

that disclosure of the informant’s identity would assist in his defense before disclosure will be

warranted.” United States v. Ray, 803 F.3d 244, 247 (6th Cir. 2015). “‘Mere conjecture or

supposition about the possible relevancy of the informant’s testimony is insufficient to warrant

disclosure.’” Sharp, 778 F.2d at 1187 (quoting United States v. Gonzalez, 606 F.2d 70, 75 (5th

Cir. 1979)); see also United States v. Bibb, No. 3:19-cr-151-TAV-DCP, 2021 WL 2383326, at *5

(E.D. Tenn. June 10, 2021) (denying motion for disclosure of material witnesses where the

defendant did “not identify ‘the likelihood that [an informant] possesse[d] necessary information

for the defendant’s sole defense’ or present more than a general statement about the need to

effectively prepare for trial”) (quoting United States v. Shanklin, 924 F.3d 905, 915 (6th Cir.

2019) (first alteration in original; second alteration added)).



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                                           ARGUMENT

       A.      Defendant is already aware of the identity of coconspirators and witnesses.

       The indictment’s allegations are specific and comprehensive. [See generally Doc. 3,

Indictment.] The indictment alleges, with specificity, that a conspiracy existed; that defendant

knowingly and willingly joined the conspiracy; that the purpose of the conspiracy was to steal

federal program funds; and that defendant himself committed more than fifty overt acts in

furtherance of the conspiracy. [See generally Doc. 3, Indictment.] Moreover, the allegations

disclose specific purchases (and dates) made by coconspirators at defendant’s direction; specific

construction and renovation projects (and dates) performed by coconspirators at defendant’s

direction; and specific antique vehicles that defendant and others restored in the Blue Building.

[See, e.g., Doc. 3, Indictment at 13-14 (¶ 26) (Apple Products); id. at 16-18 (¶¶ 34-42)

(Construction and Renovation Projects); id. at 15-16 (¶¶ 27-33) (Restoration of Antique

Vehicles).] Thus, the specificity of the allegations indicates that defendant is already aware of

the identity of coconspirators and witnesses with knowledge of defendant’s alleged conduct.

       Furthermore, the overt acts are described in detail, including the dates of purchases of

more than fifty items, the method of payment, the exact price of the items, and the beneficiary of

the purchase. [Id. at 8-11 (¶¶ 2-21), 13-15 (¶ 26).] For example, the indictment alleges that

defendant directed a subordinate to use the Narcotics Credit Card to purchase twenty-six Apple

products between May 2, 2011, and July 25, 2018. [See id. at 13 (¶ 26) (including a chart that

lists twenty-six Apple devices, the date of purchase, the make and model of the Apple device, the

price, the date the device was first registered, and a general description of who first registered the

device).] Because the indictment alleges that defendant directed a particular subordinate to use




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the Narcotics Credit Card to purchase specific Apple devices, defendant already knows the

identity of that subordinate.

       Likewise, the indictment includes specific allegations about the Duck Blind, a structure

built by defendant’s subordinates—at defendant’s direction—during their official duty. [Doc. 3,

Indictment at 12 (¶ 23).] The indictment alleges that defendant also instructed subordinates to

use money from the Cash Fund or the Narcotics Credit Card to purchase several items to finish,

outfit, and accessorize the duck blind. [Id. ¶ 24(a)-(f).] Because the indictment alleges that

defendant instructed a subordinate to purchase these items, defendant already knows the identity

of the subordinate who made each purchase. The same is true of the allegations in the

indictment regarding the restoration of antique cars. [Id. at 15-16 (¶¶ 27-33).]

       Finally, the indictment alleges that defendant coordinated many of the construction and

renovation projects himself—or directly benefited from them—so he already knows the identity

of the subordinates who assisted with the projects. Indeed, defendant instructed subordinate

officers where to go and what to do. [See, e.g., id. at 17 (¶ 37) (“In or around March 2018,

Henderson directed a group of subordinate officers to build a privacy fence as the former Knox

County Sheriff’s personal residence.”).] Thus, defendant is already aware of the identity of the

subordinate officers who performed the work (or benefited from it).

       B.      Defendant has not established that disclosure of material witnesses is
               essential to a fair trial or would substantively assist his defense.

       The Sixth Circuit has held that the Supreme Court’s balancing test, as explained in

Roviaro, requires disclosure of material witnesses “only upon a showing by the defendant that

disclosure is essential to a fair trial.” Moore, 954 F.2d at 381. At the very least, “[a] defendant

must provide some evidence that disclosure of the informant’s identity would assist in his




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defense before disclosure will be warranted.” Ray, 803 F.3d at 247. Defendant has not made

that showing here.

       Defendant requests that the United States provide “the identity and address of all persons

who were present or participated in any of the alleged conduct . . . and who may have knowledge

of facts bearing on guilt or innocence.” [Doc. 13, Mem. at 1.] The overbreadth of defendant’s

request undermines his claim that disclosure is necessary for his defense. See Sharp, 778 F.2d

at 1187 (affirming denial of a motion for disclosure where, as here, the defendant’s request was

based on “[m]ere conjecture . . . about the possible relevancy of the informant’s testimony”)

(internal quotations omitted). Moreover, defendant argues only in general terms that disclosure

of material witnesses “would be relevant and helpful to [his] defense and essential to a fair

determination of this matter. [Doc. 13, Mem. at 3.] But defendant fails to explain why or how

disclosure is relevant to his defense or essential to a fair trial. Nor has defendant explained how

his defense would be compromised if the United States maintains its privilege not to disclose the

identity of informants.

       Rather, it appears that defendant’s request for disclosure is intended primarily to require

the United States to produce its witness list before trial. [See, e.g., Doc. 13, Mem at 5-6 (“The

majority of testimonial evidence against [defendant] at trial will come from these witnesses.”).]

But, “[a]s a general rule, the government is not required to disclose the names of its witnesses

before trial.” Bibb, 2021 WL 2383326, at *10 (citing United States v. Perkins, 994 F.2d 1184,

1190 (6th Cir. 1993); United States v. McCullah, 745 F.2d 350, 353 (6th Cir. 1984)). And

defendant’s motion does not establish a particular need for such disclosure before trial. To the




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extent the Court interprets defendant’s motion as a request for the United States disclose its

witness list, the Court should deny defendant’s request. 1

                                         CONCLUSION

       For the foregoing reasons, defendant’s motion for disclosure of material witnesses should

be denied.

                                                             Respectfully submitted,

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  The United States is cognizant of its obligation under Brady v. Maryland and Giglio v. United
States to provide defendant with exculpatory and impeachment information when such evidence
is material to either guilt or punishment. 373 U.S. 83, 87 (1963); 405 U.S. 150, 154 (1972).
Exculpatory and impeachment evidence is material to a finding of guilt when there is a
reasonable probability that effective use of the evidence will result in an acquittal. See United
States v. Bagley, 475 U.S. 667, 676 (1985).
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